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                                                                 ~                _T
      i~

  6 +~


  7 E~
  8 ~                                   UNITED STATES DISTRICT COURT

  9 '`                                 CENTRAL DISTRICT OF CALIFORNIA

 10'UNITED STATES OF AMERICA,                         )     Case No.

 1 1 "'                                 Plaintiff,    )                                 J-~~3~
 12                    v.                             )     ORDER OF DETENTION AFTER HEARIN(
                                                                  (18 U.S.C. § 3142(1))


 14                                     Defendant.     )

 1~

 16                                                        z.

 17               A.        ('~) On motion of the Government involving an alleged

 l8 !                       1.   ( )     crime of violence;

 19                         2.   (./~    offense       with          maximum sentence of life

 20                                      imprisonment or death;

 2i '!                      3. (~        narcotics or controlled substance offense wit

 22                                      maximum     sentence        of        ten      or   more      years   (2:

 23                                      U.S.C. §~        801,/951, et. sea.,,/955a);

 24                         4.   ( )     felony - defendant convicted of two or more

 25                                      prior offenses described above.

 2b               B.        On motion (~by the Government)/( ) (by the Court sup

 27                         sponte involving)

 2b                         1.   (serious risk defendant will flee;



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    ~~
   '~
    ,,;~,~
  l ~                         2.   ( ) serious risk defendant will

  2 ~~                             a. ( ) obstruct or attempt to obstruct justice;

  3                                b. ( )threaten, injure, or intimidate a prospective

  ~                                      witness or juror or attempt to do so.
        ~
  ~                                                    II.

  6                 The Court finds no condition or combination of conditions will

  7          reasonable assure:

  8                 A.        (~ appearance of defendant as required; and/or

  9                 B.        (~ safety of any person or the community;

 10 '                                                 III.

 11                 The Court has considered:

 12 ',              A.        (~ the nature and circumstances of the offense;

 13                 B.        ~ the weight of evidence against the defendant;

 1~                 C.        (    the history and characteristics of the defendant;

 l~                 D.        (    the nature and seriousness of the danger to any

 lb                           person or to the community.

 17                                                    IV.

 i~                 The Court concludes:

 19                 A.        ( ) Defendant poses a risk to the safety of other persons

 20                           or the community because•

 2_



 23

 2

 2

 2b

 2" ///

 2~          ///



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   =            B.        ( )   History and characteristics indicate a serious risk

                                that defendant will flee because•

  3

  4

   J

  5

  7             C.        ( )   A serious risk exists that defendant will:

  8                             1.   ( ) obstruct     or   attempt to      obstruct         justice;

   a                            2. ( )threaten, injure or intimidate a witness/

 10                             juror; because:

 11

 12

 13

 l~             D.        (~/~ Defendant has not rebutted by sufficient evidence tc

 1~                             the contrary the presumption provided in 18 U.S.C.

'
_5                              ~ 3142 (e).

 1"1            IT IS ORDERED that defendant be detained prior to trial.

 i~             IT IS FURTHER ORDERED that defendant be confined as far a~

 ~
 ~ )     practicable in a corrections facility separate from persons awaitinc

 2~      or serving sentences or person held pending appeal.

 '
 2              IT IS FURTHER ORDERED that defendant be afforded reasonablE

 2~      opportunity for private consultation with counsel.

 2~                             ~~~ ~~

 2~ ~           DATED

 ~ ~;                                        '~~iU~ ~~ ~                               ~ ~
                                                        PATRICK J. WALSH
 ~'".'                                             UNITED STATES MAGISTRATE JUDGE




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